         Case 1:17-cv-02069-TSC Document 27 Filed 12/21/17 Page 1 of 7



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


AMERICAN CIVIL LIBERTIES UNION
FOUNDATION, as Next Friend, on behalf of
Unnamed U.S. Citizen in U.S. Military Detention,

                      Petitioner,                                  No. 17-cv-2069 (TSC)

                      v.

GEN. JAMES N. MATTIS,
 in his official capacity as SECRETARY OF
 DEFENSE,

                      Respondent.


       NOTICE OF FILING OF ADDITIONAL INFORMATION PERTINENT TO
               EMERGENCY MOTION FOR COUNSEL ACCESS

       Petitioner respectfully provides notice to the Court of an article published last night in the

New York Times reporting that senior Trump administration national security officials are

“embracing a proposal” to transfer the unnamed U.S. citizen detainee to Saudi Arabia, where he

reportedly has dual nationality, and that any such transfer could require the detainee to renounce

his American citizenship. See Charlie Savage, Eric Schmitt & Adam Goldman, Officials Weigh

Sending American Detainee to Saudi Arabia, N.Y. Times (Dec. 20, 2017),

https://nyti.ms/2De9Yqh (attached as Exhibit A).

       The proposal underscores the urgency of the relief requested in Petitioner’s pending

motion for counsel access or, in the alternative, jurisdictional discovery. See Emergency Mot.,

ECF No. 7; Petitioner’s Opp. to Respondent’s Mot. to Dismiss, ECF No. 13. “Citizenship is

among the most momentous elements of an individual’s legal status. ‘It would be difficult to

exaggerate its value and importance.’” L. Xia v. Tillerson, 865 F.3d 643, 650 (D.C. Cir. 2017)
          Case 1:17-cv-02069-TSC Document 27 Filed 12/21/17 Page 2 of 7



(quoting Schneiderman v. United States, 320 U.S. 118, 122 (1943)); accord Costello v. United

States, 365 U.S. 265, 269 (1961) (“American citizenship is a precious right.”). Nearly seventy

years ago, the Supreme Court made clear that an American cannot be deprived of his citizenship

“without evidence, a hearing, or the benefit of counsel, at a time when his Government was then

holding the citizen in jail with no reasonable opportunity for him effectively to defend his right

to citizenship.” Klapprott v. United States, 335 U.S. 601, 615 (1949).

       If the New York Times report is accurate, the government is effectively seeking an end-

run around the bedrock protections of this precious right. It has imprisoned an American citizen

for more than three months without access to a court or to counsel—circumstances that vastly

exceed what the Supreme Court has deemed “inherently coercive.” Ashcraft v. Tennessee, 322

U.S. 143, 153–54 (1944) (detention for thirty-six hours); accord Payne v. Arkansas, 356 U.S.

560, 566–67 (1958) (detention for three days). The government, nevertheless, continues to

oppose counsel access, insisting, inter alia, that it should be given additional time to determine

this citizen’s “future status.” Respondent’s Suppl. Br. 8, ECF No. 24.

       There is a considerable risk that the government is now pressuring the detainee to

renounce his American citizenship by describing it as his only alternative to indefinite detention.

Reportedly, the government has determined that it lacks any basis to criminally prosecute the

citizen. See Savage et al., supra. But coercing a citizen to relinquish his citizenship is no less

harmful than coercing a criminal confession; as the Supreme Court has long instructed, the loss

of citizenship “may be more grave than consequences that flow from conviction for crimes.”

Klapprott, 335 U.S. at 611; see also L. Xia, 865 F.3d at 650 (loss of citizenship “may result in

the loss of . . . all that makes life worth living” (quotation marks omitted)).




                                                  2
           Case 1:17-cv-02069-TSC Document 27 Filed 12/21/17 Page 3 of 7



       Indeed, the U.S. government has previously required that an American citizen detained as

an “enemy combatant” renounce his citizenship as a condition for his transfer to Saudi Arabia,

where he similarly held dual nationality. See Jerry Markon, Hamdi Returned to Saudi Arabia,

Wash. Post (Oct. 12, 2004), http://wapo.st/2BT5c3T. Notably, the American citizen in that

case—Yaser Hamdi—had access to counsel in making this most critical of decisions. Id. Here,

the American citizen currently detained has already demanded access to counsel on the one

occasion where the government advised him of this right. See Respondent’s Corrected Resp. 1–

2, ECF No. 21-1. The government should not be permitted to continue to deny this citizen

access to a lawyer, whether it seeks to detain him indefinitely or coerce him to take the

momentous step of renouncing his citizenship as the necessary price of release from U.S.

custody.



Dated: December 21, 2017                             Respectfully submitted,


                                                      /s/ Jonathan Hafetz_____________________
                                                     Jonathan Hafetz (D.C. Bar No. NY0251)
Arthur B. Spitzer (D.C. Bar No. 235960)              Hina Shamsi (D.C. Bar No. MI0071)
American Civil Liberties Union                       Brett Max Kaufman (D.C. Bar No. NY0224)
  of the District of Columbia                        Dror Ladin
915 15th Street, NW, 2nd Floor                       American Civil Liberties Union Foundation
Washington, DC 20005                                 125 Broad Street—18th Floor
Tel: 202-457-0800                                    New York, New York 10004
Fax: 202-457-0805                                    Tel: 212-549-2500
aspitzer@acludc.org                                  Fax: 212-549-2654
                                                     jhafetz@aclu.org
                                                     hshamsi@aclu.org
                                                     bkaufman@aclu.org
                                                     dladin@aclu.org

Counsel for Petitioner




                                                 3
Case 1:17-cv-02069-TSC Document 27 Filed 12/21/17 Page 4 of 7




       Exhibit A
12/21/2017                          Officials Weigh SendingDocument
                         Case 1:17-cv-02069-TSC             American Detainee
                                                                         27 toFiled
                                                                              Saudi Arabia - The NewPage
                                                                                     12/21/17        York Times
                                                                                                            5 of 7




                                             https://nyti.ms/2Dh4wmI


             POLITICS



             Officials Weigh Sending American
             Detainee to Saudi Arabia
             By CHARLIE SAVAGE, ERIC SCHMITT and ADAM GOLDMAN                                    DEC. 20, 2017

             WASHINGTON — Senior national security officials in the Trump administration are
             embracing a proposal to transfer to Saudi Arabia an American citizen being held in
             Iraq as a wartime detainee, according to officials familiar with internal deliberations.

                   A meeting last week of the National Security Council’s “deputies committee” —
             the No. 2 leaders of national security departments and agencies — found its
             members united around a goal of pursuing such a transfer for the detainee,
             suspected of being a low-level Islamic State fighter, who has been held in military
             custody as an “enemy combatant” for the past three months, the officials said.

                   The man, whose name the government has refused to make public, was born in
             the United States to visiting Saudi parents, the officials said.

                   A spokesman for the National Security Council declined to comment. The
             officials spoke on the condition of anonymity to describe the internal deliberations.

                   The Trump administration has been wrestling with what to do with the man
             since a Syrian militia turned him over to American forces in mid-September. Legal
             pressure to resolve his fate has been building since the American Civil Liberties
             Union filed a habeas corpus lawsuit in October challenging his detention on his
             behalf.

             The government initially wanted to prosecute the man in a civilian court for
             providing material assistance to terrorism, but the F.B.I. was unable to assemble



https://www.nytimes.com/2017/12/20/us/politics/american-detainee-saudi-arabia.html                                   1/5
12/21/2017                          Officials Weigh SendingDocument
                         Case 1:17-cv-02069-TSC             American Detainee
                                                                         27 toFiled
                                                                              Saudi Arabia - The NewPage
                                                                                     12/21/17        York Times
                                                                                                            6 of 7



             sufficient courtroom-admissible evidence against him.

                   After interrogating the man for intelligence purposes, F.B.I. agents switched to
             questioning to gather courtroom evidence and read the man the Miranda warning.
             But after the man heard he had a right to have a lawyer present, the Justice
             Department disclosed as part of the A.C.L.U. case, he asked for one, so the agents
             ceased their questioning.

                   Robert M. Chesney, a national security law professor at the University of Texas,
             Austin, said that repatriating the detainee to Saudi Arabia, where he was raised and
             is apparently a dual citizen, was “the most desirable outcome for all parties
             concerned.”

                   Mr. Chesney noted that there has been no claim that the man did or knows
             anything important, and he said that holding the man in longer-term military
             custody would give courts an opportunity to weigh in on unresolved legal questions,
             including whether Congress properly authorized the war against the Islamic State
             and the limits of the government’s power to hold American citizens as enemy
             combatants.

                   “Why would you want to open that can of worms in the first place when you
             have a perfectly plausible, indeed attractive, disposition option?” Mr. Chesney said.

                   The officials at the deputies committee meeting agreed that as part of reaching
             out to the Saudi government, the Trump administration would request diplomatic
             assurances about what would happen to the man after any transfer.

                   Previous repatriation deals for lower-level detainees have included assurances
             that their ability to travel would be restricted, as well as other security measures.
             Saudi Arabia also operates a custodial rehabilitation program for low-level Islamist
             radicals.

                   It was not clear whether such a deal would require the detainee to renounce his
             American citizenship, eliminating his right to enter the United States. In 2004, when
             the Bush administration repatriated a former Guantánamo detainee who had




https://www.nytimes.com/2017/12/20/us/politics/american-detainee-saudi-arabia.html                                   2/5
12/21/2017                          Officials Weigh SendingDocument
                         Case 1:17-cv-02069-TSC             American Detainee
                                                                         27 toFiled
                                                                              Saudi Arabia - The NewPage
                                                                                     12/21/17        York Times
                                                                                                            7 of 7



             similarly been born in the United States to visiting Saudi parents, Yaser E. Hamdi,
             the man agreed to renounce his citizenship as part of the arrangement.

                   By then, Mr. Hamdi had a lawyer. The Trump administration has been fighting
             to keep a lawyer from reaching the current detainee.

                   Jonathan Hafetz, the lead A.C.L.U. lawyer in the habeas corpus lawsuit, said
             that whatever happens, the man should be given access to a lawyer first “to advise
             him on fundamental questions, including renouncing his citizenship, if that’s an
             issue.”

                   Although the International Committee for the Red Cross has visited the detainee
             twice, the government has kept secret the most basic facts about him. That he is a
             dual citizen of Saudi Arabia was earlier reported last week by The Hill, and was
             subsequently confirmed by officials.

                   The government has asked the judge overseeing the A.C.L.U.’s case, Judge
             Tanya S. Chutkan of the Federal District Court of the District of Columbia, to dismiss
             the lawsuit, saying the rights organization lacks standing because it has no
             connections to him or his relatives.

                   But the A.C.L.U., noting that the government is responsible for keeping the
             man’s identity secret and not letting lawyers visit him, has asked Judge Chutkan to
             order the government to ask the detainee whether he wants to file a habeas corpus
             lawsuit himself and, if so, whether he wants the A.C.L.U. to represent him. She has
             not yet ruled.

             On Twitter, follow Charlie Savage @charlie_savage, Eric Schmitt @EricSchmittNYT
             and Adam Goldman @adamgoldmanNYT.

             A version of this article appears in print on December 21, 2017, on Page A10 of the New York edition with
             the headline: Officials Weigh Sending American Held as ISIS Fighter to Saudi Arabia.




        Our best to you this season.



https://www.nytimes.com/2017/12/20/us/politics/american-detainee-saudi-arabia.html                                       3/5
